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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

                                        :
SUSAN BYRNE,                            :
    Plaintiff                           :
                                        :     CIVIL CASE NO.:
v.                                      :     3:17-cv-01104 (VLB)
                                        :
YALE UNIVERSITY,                        :
     Defendant                          :     NOVEMBER 13, 2020
                                        :

                          DEFENDANT’S SECOND MOTION FOR
                            CONTINUANCE OF JURY TRIAL

        Pursuant to the Federal Rules of Civil Procedure and the Local Rules for this

Court, Defendant Yale University, by and through its attorneys, hereby respectfully

requests a continuance of the February 16, 2021 jury trial of this matter, until on or

about June 2021.

        This Motion is in response to the Court’s November 9th order (ECF No. 140),

in which the Court directed Defendant to make further efforts to determine

Plaintiff’s position on the requested continuance. After good faith conferences with

opposing counsel, Defendant is modifying its request and seeking a shorter

continuance.

        In support of this motion, Defendant states as follows:

              1.    On October 1, 2020, this Court scheduled jury selection for

February 16, 2021, and the parties have estimated the evidence will require 10-15

days.

              2.    On or about November 2, 2020, Attorney Victoria Woodin

Chavey – lead counsel for the Defendant in this matter since its inception –
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commenced a sabbatical leave of absence that will last for up to one year.

Accordingly, we have undertaken to transfer lead counsel responsibility for this

case to another Jackson Lewis attorney: Beverly Garofalo, Esq.

             3.     Attorney Garofalo is an experienced litigator who, along with

Attorney Salazar-Austin, will ensure that a smooth transition occurs so as not to

jeopardize the efficient trial of this matter.

             4.     Attorney Garofalo is scheduled for a jury trial in United States

District Court in Boston, Massachusetts, set for March, 2021, pursuant to a

scheduling order issued September 1, 2020. The case name is Gigi Kai Zi Chan v.

Wellington Management Company LLP and Charles Argyle, Docket Number 1:19-

CV-11605-WGY. This pre-existing commitment for a trial commencing as early as

March 1 makes it impossible for Attorney Garofalo to participate in the two-to three-

week trial of the Byrne matter commencing with jury selection on February 16,

2021, pursuant to the October 1, 2020 scheduling order.

             5.     Further, Attorney Salazar-Austin has a previously scheduled trial

set for March 16, 2021, pursuant to the Connecticut Superior Court’s May 20, 2020

modification of a prior scheduling order. While it is possible the Byrne trial would

conclude before the commencement of that previously scheduled trial, it is also

possible that the Byrne trial will continue past March 16, especially with potential

delays due to the complications of trying a case in the global pandemic. The matter

is Lavan Williams v. ProStar Inc., Docket Number HHD-CV19-6113183-S.

             6.     Moreover, undersigned counsel and numerous Yale witnesses

have health concerns related to a jury trial this upcoming winter during the global




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pandemic. The prospect of spending multiple days or weeks indoors with jurors,

court staff, and others necessary for the trial of this matter causes significant

concern, unless an effective vaccine is available or the spread of the virus is

controlled by then.

             7.       Specifically, undersigned counsel, Attorney Salazar-Austin, has

a significant underlying health condition that may make him more vulnerable to the

effects of COVID-19, and he would be willing to provide the court with further

information for in camera review as necessary.

             8.       Further, many of Yale’s witnesses in this case are age 65 or

older and/or have responsibility for other family members who are in vulnerable

groups. The CDC reports that 8 out of 10 deaths related to COVID-19 in the United

States have been in individuals age 65 or older.1 Witnesses over age 65 in this

case include, but are not limited to, Professors Adorno, Bloch, Dovidio, Gonzalez

Echevarria, Mazzotta and Valis.       Several of Yale’s witnesses have expressed

concern for their own health and/or their family’s health if they must testify in this

matter in court in February.2 While Defendant understands the potential for remote

testimony, Defendant’s ability to defend itself against Plaintiff’s allegations would

be substantially prejudiced if many or most of its witnesses cannot attend the trial




1https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-

adults.html
2Multiple witnesses report that in addition to their age, they are managing

underlying health conditions that leave them even more vulnerable. For privacy
reasons, Defendant does not identify those witnesses in this Motion, but will do so
if the Court requires further information to justify the requested continuance.


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in person, as the witnesses’ ability to connect with the jury would be irreparably

compromised.

             9.     This is the second motion for continuance filed in connection

with the February 16, 2021 trial date. However, this motion effectively replaces the

earlier filed motion, and does not seek further relief.

             10.    As set forth above, there is ample good cause for the requested

continuance.

             11.    Undersigned counsel inquired as to Plaintiff’s position on this

motion. On November 11, 2020, Plaintiff’s counsel consented to a continuance

until June 2021, and explained its rationale as follows: “[Plaintiff] will consent to a

continuance until June 1, 2021. Plaintiff’s rationale is that an August trial date

would likely interfere with the start of the fall semester and preparation for the fall

semester and would cause scheduling difficulties for Plaintiff as well as numerous

Yale witnesses expected to testify at trial.”

             12.    Although Defendant initially requested a continuance until

August, it believes that June 2021 is a workable alternative.         For scheduling

purposes, undersigned counsel notes that Attorney Salazar-Austin has a Public

Hearing before the Connecticut Commission on Human Rights and Opportunities’

Office of Public Hearings, scheduled for July 6 – 9, 2021. Thus, undersigned

counsel respectfully requests that the Byrne trial (projected to last three weeks)

not be scheduled such that it would overlap with the above hearing dates.




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             13.    Based on the sabbatical of Yale’s lead counsel, the scheduling

conflicts of the remaining counsel for Defendant, the health concerns of counsel

and numerous witnesses, and the unpredictable circumstances and concerns

posed by COVID-19, Defendant seeks to continue the jury trial until June 2021.

             WHEREFORE, Defendant Yale University respectfully requests a

continuance of the trial in this case.

                                         DEFENDANT,
                                         YALE UNIVERSITY


                                 By:     /s/ David C. Salazar-Austin
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                            CERTIFICATION OF SERVICE

             I hereby certify that on November 13, 2020, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by operation

of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



                                               /s/ David C. Salazar-Austin
                                               David C. Salazar-Austin
